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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO: 9:23-CV-81467-DMM

  ALEXIS AMENDOLA, individually and on
  behalf of all others similarly situated,

                 Plaintiff,

         v.

  G-STAR RAW ESTORE, INC.,

                 Defendant.


          DEFENDANT’S UNOPPOSED MOTION FOR AN EXTENSION OF
    TIME TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT

         Defendant G-Star Raw Estore, Inc. (“G-Star”), by and through its attorneys and pursuant

  to Federal Rule of Civil Procedure 6(b), hereby respectfully moves for a thirty (30) day extension

  of time, up to and including January 10, 2024, to answer or otherwise respond to Plaintiff’s

  Complaint. In support of its unopposed motion, G-Star states as follows:

         1.      On November 7, 2023, Plaintiff Alexis Amendola (“Plaintiff”), filed her

  Complaint in the above-captioned action, alleging violations of the Telephone Consumer

  Protection Act, 47 U.S.C. § 227, et seq., and the Florida Telephone Solicitation Act, Fla. Stat. §

  501.059, et seq. (Dkt. No. 1).

         2.      G-Star was served with Plaintiff’s Complaint and summons on November 20,

  2023. (Dkt. No. 4).

         3.      The current deadline for G-Star to answer or otherwise respond to Plaintiff’s

  Complaint is December 11, 2023. (Id.).

         4.      G-Star is promptly collecting and reviewing relevant documents and investigating

  Plaintiff’s alleged violations in order to prepare a response to Plaintiff’s Complaint. G-Star,
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  however, requires additional time to adequately complete its investigation and prepare its

  response.

            5.     Further, if granted, the requested extension of time will afford the parties an

  opportunity to explore a potential non-litigated resolution in this matter.

            6.     G-Star, accordingly, requests an extension of thirty (30) days, up to and including

  January 10, 2024, to file an answer or otherwise respond to Plaintiff’s Complaint. In accordance

  with Local Rule 7.1(a)(2) and Section 31(6) of the CM/ECF Administrative Procedures,

  Defendant is filing a copy of a Proposed Order herewith and e-mailing a Word version of the

  same to the presiding judge.

            7.     On December 1, 2023, counsel for G-Star conferred with counsel for Plaintiff,

  who confirmed that Plaintiff does not oppose G-Star’s instant motion and the relief requested

  herein.

            8.     This motion is filed before G-Star’s response to the Complaint is due, and this is

  G-Star’s first request for an extension of time.

            9.     This motion is filed in good faith and not for the purpose of unwarranted delay, to

  obstruct the progress of this case, or for any other improper purpose.

            WHEREFORE, G-Star respectfully requests that the Court enter an order granting G-Star

  a thirty (30) day extension of time, up to and including January 10, 2024, to answer or otherwise

  respond to Plaintiff’s Complaint.

                         CERTIFICATE OF PRE-FILING CONFERENCE

            The undersigned confirms that, pursuant to Local Rule 7.1(a)(3), G-Star’s counsel

  conferred with Plaintiff’s counsel, and Plaintiff’s counsel consents to the relief requested herein.




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   Date: December 8, 2023       Respectfully submitted,

                                SEYFARTH SHAW LLP

                                By: /s/ Kevin M. Young
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                                Counsel for Defendant G-Star Raw E-Store, Inc.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 8, 2023, I electronically filed the foregoing document

  with the Clerk of the Court using the CM/ECF system which will send notification of such filing

  to all counsel of record.

                                              /s/ Kevin M. Young
                                              Kevin M. Young
